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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA                              No. 3:18-cr-48-VAB

 v.                                                    March 14, 2023

 ROBERT V. MATTHEWS


 JOINH MOTION TO CONTINUNE SENTENCING AND ASSOCIATED DEADLINES

       The parties jointly request that the sentencing in this matter be continued between 45 and

60 days. The parties also request that all associated sentencing deadlines, including the final PSI

disclosure deadline, be continued by between 45 and 60 days as well.

                                                     Respectfully submitted,

                                                     VANESSA ROBERTS AVERY
                                                     UNITED STATES ATTORNEY

                                                            /s/
                                                     JOHN T. PIERPONT, JR.
                                                     ASSISTANT U.S. ATTORNEY
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2023, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court=s electronic

filing system. Parties may access this filing through the Court=s system.



                                               /s/
                                               JOHN T. PIERPONT, JR.
                                               ASSISTANT UNITED STATES ATTORNEY
